Case 1:17-cv-02150-RDB Document 88 Filed 01/10/22 Page 1 of 1

 

UNITED STATES DISTRICT COURT

 

 

 

DISTRICT OF MARYLAND
OFFICE OF THE CLERK
Catherine M. Stavlas, Clerk of Court
Elizabeth B. Snowden, Chief Deputy
Reply to Northern Division Address David E. Ciambruschini, Chief Deputy
January 7, 2022 FILED ENTERED
Michael Jones ne LODGED__- RECEIVED
1B Rt 72 100 Yards North
from The Space San Juan Del JAN 10 2022
Sur Nicaragua 25203571 —sGauriwORE bh

Re: Case No. RDB 17-cv-2150

Dear Counsel/Party:

The Clerk received your “Supplement for Motion for Order of Default” on January 5,
2022; however, it is deficient in the area(s) checked below and is being returned to you.

Noncompliance with L.R. 101 or 102

[] Member of bar has not signed the document.

[] Business entities other than sole
proprietorships must be represented by
counsel.

Noncompliance with L.R. 104 or 105
[] Discovery materials should not be filed unless
in support of a motion or by court order.

CL] Discovery motion filed contrary to L.R. 104.7.
[1 Motion to compel filed contrary to L.R. 104.8.

cc: Other counsel/party
Return pleading letter (Rev. 02/2011)

Noncompliance with L.R. 102 and FRCivP 5

CL] Certificate of service not affixed to document.

_] Certificate of service not dated and/or not
signed.

Miscellaneous
[] Document does not contain original signature.

(] Document relates to more than one file.
Original and appropriate copies are required
for each file unless the cases have been
consolidated for all purposes.

[] Offer of judgment should not be filed with the
Court until it has been accepted. Fed. R. Civ.
P. 68.

x Other: Civil Action Closed on 11/30/2018.
THMCS. ZO DAnidry je 2 el.

Richard D. Bennett Date
United States District Judge

Northern Division * 4228 U.S. Courthouse * 101 W. Lombard Street + Baltimore, Maryland 21201+ 410-962-2600
Southern Division * 200 U.S. Courthouse * 6500 Cherrywood Lane * Greenbelt, Maryland 20770 + 301-344-0660

Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
